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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

MELANIE HOGAN SLUDER and                    )
RICKY SHAWN CURTIS, Individually and )
as Independent Administrators of the Estate )
of Alexas Marie Sluder, Deceased,           )
                                            )
      Plaintiffs,                           )       CIVIL ACTION FILE NO.:
                                            )       4:24-cv-00181-WMR
v.                                          )
                                            )
REBECKA PHILLIPS, MAVEIS BROOKS,)
RUSSELL BALLARD, SHARON ELLIS, )
DAVID MCKINNEY, MONICA                      )
HEADRICK, and GILMER COUNTY (a )
municipal corporation),                     )
                                            )
      Defendants.                           )

         RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

      COMES NOW, Defendant Monica Headrick, by and through their undersigned

counsel, and pursuant to the Local Rules of the Northern District of Georgia Rule 5.4,

hereby files this Certificate of Service of Discovery showing the Court that the

following discovery was served:

   1. DEFENDANT MONICA HEADRICK’S                          FIRST     CONTINUING
      INTERROGATORIES TO PLAINTIFF

   2. DEFENDANT CITY OF BROOKHAVEN’S FIRST REQUEST FOR
      PRODUCTION OF DOCUMENTS TO PLAINTIFF

by delivering a .PDF copy of same by electronic mail to the email address for counsel


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of record, based on the agreement of the parties as reflected in the Joint Preliminary

Report and Discovery Plan (Doc 39):

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                                       HENSEL, P.C.

                                       /s/ Timothy J. Buckley
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